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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CARNEGIE INSTITUTION OF WASHINGTON,

M7D CORPORATION, a .
Civil Action No. 1:20-cv-00189 (JSR)

Plaintiffs, ) ORDER
,

PURE GROWN DIAMONDS, INC.,

IlA TECHNOLOGIES PTE. LTD D/B/A
ITA TECHNOLOGIES,

Defendants.

WHEREAS Plaintiffs have informed the Court that a sealed exhibit was filed in
connection with their summary judgment opposition (in three parts at ECF Nos, 105, 105-1, and
105-2) which inadvertently contained attorney highlighting, and that a clean copy of that exhibit

was thereafter filed (in two parts at ECF Nos. 106 and 106-1); and

WHEREAS Plaintiffs have moved the Court to remove from the case docket the —

highlighted exhibit at ECF Nos. 105, 105-1, and 105-2; and
WHEREAS Defendants do not oppose Plaintiffs’ motion,

THEREFORE for good cause shown, the Court respectfully directs the Clerk of Court to
strike the following documents from the docket but retain the summary docket text for the

record: ECF Nos. 105, 105-1, and 105-2.

The exhibit at ECF Nos. 106 and 106-1, and all other exhibits filed in connection with
Plaintiffs’ summary judgment opposition (ECF Nos. 104 through 104-4 and 105-3 through 105-

47), should remain available for sealed access by Defendants and the Court.

 
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Dated: New York, NY 0M
November 2, 2020 Lil

JED. BAKOFF, U.S

 
